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11
                         UNITED STATES DISTRICT COURT
12
          CENTRAL DISTRICT OF CALIFORNIA – CENTRAL DIVISION
13
    LENORE ALBERT, JAMES               Case No. 8:24-cv-01997-WLH-DFM
14  OCON,     RYAN  MCMAHON,           [Assigned to the Hon. Wesley L. Hsu]
    LARRY TRAN, THERESA
15 MARASCO; CHAD PRATT; AND            REPLY MEMORANDUM IN
    LESLIE WESTMORELAND                FURTHER SUPPORT OF TYLER
16                                     TECHNOLOGIES, INC.’S MOTION
                    Plaintiffs,        TO DISMISS FIRST AMENDED
17                                     COMPLAINT
           v.
18                                     Complaint Filed: September 16, 2024
    TYLER TECHNOLOGIES, INC.,
19 STATE BAR OF CALIFORNIA;            Hearing Date: December 20, 2024
    RICK RANKIN, STEVE MAZER,          Time:            1:30 p.m.
20  LEAH    WILSON,   RUBEN     DURAN  Courtroom:       9B
    SHERRELL MCFARLANE;
21 KATHERINE KINSEY, BENSON
    HOM, CINDY CHAN, SUZANNE
22 GRANT, and DOES 1-50,
    inclusive,
23
                    Defendants.
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 1 I.      INTRODUCTION
 2         The allegations against Tyler in this case are entirely frivolous and based on the
 3 false premise that Tyler was involved in the decade-long series of events that led to
 4 Plaintiff Lenore Albert’s July 2024 disbarment. The 950-paragraph FAC (Dkt. 57)
 5 weaves a fanciful decade-long tale of harassment and retaliation by the State Bar, clerks,
 6 prosecutors, judges, independent contractors and Tyler, a Fortune 500 company, all
 7 supposedly with the intention of disbarring Ms. Albert, gaining an advantage in other
 8 pending litigation, and harming Ms. Albert’s other clients in unrelated cases. (See Dkt.
 9 57, ¶¶172-333). Ms. Albert’s prior suspensions and other disciplinary complaints all
10 occurred well prior to her filing a lawsuit against Tyler in March 2022, which was the
11 first time Tyler became aware Ms. Albert existed. Those prior suspensions and
12 disciplinary complaints led to the State Bar Review Department’s ultimate decision to
13 disbar her instead of suspending her license for a third time. (See Dkt. 79-4 (State Bar
14 Court of California Review Department Opinion and Order)). Ms. Albert seems entirely
15 unwilling to take any responsibility for any of her own conduct, and instead, for years,
16 she placed blame on the State Bar and countless others. Now she is putting Tyler
17 squarely in her crosshairs without any factual basis whatsoever.
18         Indeed, the FAC does not contain a single non-conclusory factual allegation
19 against Tyler that would support Plaintiffs’ claims. And Plaintiffs’ Response (Dkt. 88)
20 does nothing but double-down on those conclusory allegations. 1 Plaintiffs continue to
21 assert, without a shred of factual support, that Tyler was acting in concert with the State
22 Bar and that all of the State Bar’s knowledge and conduct can be imputed to Tyler. In
23
   1
          Plaintiffs’ Response included an objection to Exhibit A to Tyler’s Motion (Dkt.
24 80-4), which is the docket sheet for the order to show cause proceeding regarding her
   ability to practice in the Central District of California. The Court can overrule that
25 objection because the docket is a public record of this Court and relevant to Ms. Albert’s
   ability to practice law, which forms the entire basis of her claims. Even if the Court
26 disregarded Exhibit A, the Motion should still be granted. Moreover, the Response
   included a Request for Judicial Notice (Dkt. 88-9) and a variety of other exhibits that
27 are not properly before the Court on a motion to dismiss. None of these documents,
   however, changes the ultimate conclusion that the claims against Tyler should be
28 dismissed.
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 1 addition to being devoid of any factual truth, these assertions are legally meritless as a
 2 matter of law. Tyler’s Motion (Dkt. 80) should be granted. In addition, because
 3 Plaintiffs cannot plead any set of facts to support their claims, leave to amend (again)
 4 should be denied.
 5 II.      ARGUMENT
 6         As detailed in Tyler’s Motion, the FAC fails to meet the requirements of both
 7 Federal Rules of Civil Procedure 8 and 12(b)(6); Bell Atl. Corp. v. Twombly, 550 U.S.
 8 544, 555 (2007). The Court is not required to “‘assume the truth of legal conclusions
 9 merely because they are cast in the form of factual allegations.’” Fayer v. Vaughn, 649
10 F.3d 1061, 1064 (9th Cir. 2011) (per curiam) (quoting W. Mining Council v. Watt, 643
11 F.2d 618, 624 (9th Cir. 1981)). Mere conclusory allegations of law and unwarranted
12 inferences are insufficient to defeat a motion to dismiss. Adams v. Johnson, 355 F.3d
13 1179, 1183 (9th Cir. 2004); accord Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).
14          The FAC relies entirely on conclusory allegations to assert three tort claims
15 against Tyler: Count 5 (Negligence Data Breach) (Dkt. 57, ¶¶526-546); Count 10
16 (Negligent Interference with a Prospective Economic Advantage) (Dkt. 57, ¶¶683-697);
17 and Count 11 (Intentional Interference with a Prospective Economic Advantage) (Dkt.
18 57, ¶¶698-714). In addition, although it is not clear from the face of the FAC or the
19 Response, Plaintiffs appear to be attempting to apply the legal theories of conspiracy,
20 agency/principal, and ratification to extend some form of “co-tortfeasor liability” to
21 Tyler for the actions of the State Bar.2 (Dkt. 88, pp. 5-10). Each of the three claims
22 asserted against Tyler should be dismissed, and Plaintiffs’ “co-tortfeasor liability”
23 theory should be rejected.
24
25
26
27 action To  be clear, Tyler does not believe that the FAC states any plausible causes of
     2
          against the State Bar or the various other individual defendants. For purposes of
28 Tyler’s Motion, even if the Court accepted every allegation against the State Bar as true,
   Plaintiffs have still failed to assert a valid claim against Tyler.
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 1         A.     Plaintiffs’ “Co-Tortfeasor Liability” Arguments Should Be Rejected.
 2         Although the FAC does not allege any specific civil conspiracy, agency liability,
 3 or ratification claims against Tyler, it does contain 25 paragraphs entitled “Agency or
 4 Acting in Concert” (Dkt. 57, ¶¶407-431). Similarly, the Response includes a separate
 5 section titled “Co-Tortfeasor Liability,” (Dkt. 88, pp. 5-10). Neither of these sections,
 6 however, explain how these legal theories apply to the three causes of action specifically
 7 plead against Tyler. Nor is there any effort to explain whether Plaintiffs are invoking
 8 these theories to hold Tyler jointly liable on the multitude of other causes of action plead
 9 against the State Bar.3 Ultimately, it does not matter because Plaintiffs have failed to
10 allege sufficient, non-conclusory facts to support any of these legal theories.
11         First, Plaintiffs’ “conspiracy” theory is entirely unsupported. Plaintiffs suggest
12 that Tyler conspired with the State Bar to “cover up” the Alleged Data Breach 4 and then
13 makes the extraordinary logical leap that Tyler must therefore have been a “substantial
14 factor in agreeing to have Ms. Albert disbarred.” (Dkt. 88, p.5). Plaintiffs acknowledge
15 that a properly plead civil conspiracy must include three elements: (1) formation and
16 operation of the conspiracy, (2) wrongful conduct in furtherance of the conspiracy, and
17 (3) damages arising from the wrongful conduct. (Dkt. 88, p. 6, citing AREI II Cases,
18 216 Cal. App.4th 1004, 1022 (2013)); see also, Craigslist, Inc. v. 3Taps Inc., 942
19 F.Supp.2d 962, 981 (N.D. Cal. 2013). Plaintiffs fail to mention that the first element
20 has three subparts: “(i) knowledge of wrongful activity, (ii) agreement to join in the
21 wrongful activity, and (iii) intent to aid in the wrongful activity.” Id. at 981; see also
22
   3
          Attempting to hold Tyler jointly liable on the causes of action not expressly plead
23 against Tyler would be inconsistent with Plaintiffs’ statements at the parties’ meet and
   confer that the claims against Tyler are limited to Counts 5, 10 and 11. Moreover,
24 Plaintiffs have made zero effort to explain how any of these legal theories would apply
   to any of the specific causes of action plead against the State Bar, including a number
25 of claims that are brought under section 1983 or other statutory provisions that cannot
   be asserted against Tyler.
26 4      A gravamen of the State Court Action has been the assertion that Tyler and the
27 essentially sought
   State  Bar          to cover up the Alleged Data Breach. Those allegations were
               rejected by that State Court when it granted Tyler’s demurrer to all counts
   other than the negligence claim. See Dkt. 88-2 (State Court January 1, 2024 Minute
28 Order),  pp. 2-3.
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 1 Gerard v. Ross, 204 Cal.App.3d 968, 983 (1988) (“A defendant can be held liable as a
 2 cotortfeasor on the basis of acting in concert only if he or she knew that a tort had been,
 3 or was to be, committed, and acted with the intent of facilitating the commission of that
 4 tort.”). Plaintiffs also fail to recognize that civil conspiracy claims are subject to a
 5 heightened pleading standard, demanding that a plaintiff allege specific facts
 6 “containing evidence of unlawful intent.” Buckey v. Cnty. of Los Angeles, 968 F.2d
 7 791, 794 (9th Cir. 1992); Ponomarenko v. Shapiro, 287 F. Supp. 3d 816, 831 (N.D. Cal.
 8 2018).
 9         Neither the FAC nor the Response identify any wrongful act by Tyler, any
10 knowledge by Tyler of any wrongful act by the State Bar, any agreement to join in the
11 wrongful activity, or any intent to aid in any wrongful activity. At most, Plaintiffs refer
12 to “fifteen (15) material dates” that supposedly establish that Tyler and the State Bar
13 were “operating in sync with each other.” (Dkt. 88, p. 6, citing FAC ¶¶407-429). These
14 supposedly material dates identify only five actions taken by Tyler and show nothing
15 more than that Tyler and the State Bar were co-defendants in the State Court Action.
16         The specific actions allegedly undertaken by Tyler were: (i) Tyler removed the
17 original state case to federal court; (ii) Tyler filed a joint case management statement in
18 the State Court Case advising the court that the DCTC had recommended a suspension
19 of Ms. Albert’s license; (iii) Tyler did not in agree with some of Ms. Albert’s suggested
20 changes to a protective order; (iv) Tyler requested an extension of time to file its
21 demurrer; and (v) Tyler produced discovery. None of these actions, taken in defense of
22 litigation filed against Tyler, constitutes wrongful activity or suggests any knowledge
23 of any wrongdoing. Nor do these allegations support, in any way, the conclusion that
24 because Tyler and the State Bar were co-defendants in the State Court Action, they
25 necessarily were acting in concert with one another to disbar Ms. Albert. No facts have
26 been plead or can be plead to support this false assumption.
27         Second, the conclusory allegation that Tyler was “in an agency relationship” with
28 the State Bar is legally flawed. Plaintiffs mention “an agency relationship” just four
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 1 times in the FAC (see Dkt. 57, ¶¶430, 469, 708 and 712), but do not ever identify who
 2 the purported agent is or who is the principal. Instead, Plaintiffs contend Tyler and the
 3 State Bar both “acted in concert” and, thus, are in an “agency relationship.” (See Dkt.
 4 88, p. 7). Plaintiffs never attempt to identify any of the essential elements of an “agency
 5 relationship,” which are: (1) the agent or apparent agent holds power to alter legal
 6 relations between the principal and third persons and between the principal and himself;
 7 (2) the agent is a fiduciary with respect to matters within the scope of the agency; and
 8 (3) the principal has right to control the conduct of the agent with respect to matters
 9 entrusted to him. Imageline, Inc. v. CafePress.com, Inc., No. CV 10-9794 PSG MANX,
10 2011 WL 1322525, at *4 (C.D. Cal. Apr. 6, 2011), citing Garlock Sealing Technologies
11 LLC v. NAK Sealing Technologies Corp., 148 Cal.App.4th 937, 965 (2007)). The fact
12 that Tyler and the State Bar were co-defendants in the Data Breach Cases does not create
13 an “agency relationship” and certainly does not establish a relationship sufficient to
14 hold Tyler liable for the actions of the State Bar or its employees.
15         Plaintiffs’ Response claims agency is a “factual question” and that “if plaintiff
16 proves that [Tyler] gave any of the State Bar employees authority to act on its behalf”
17 it would support the conclusion that they were working as Tyler’s agent. (Dkt. 88, pp.
18 7, 9). But, far from proving it, Plaintiffs have not plead even the hint of a factual
19 allegation that Tyler gave any State Bar employee any authority. Such facts simply do
20 not exist. Nor is there any factual allegation regarding the elements requiring the agent
21 to have the power to alter the legal relation, fiduciary relationship, or control.
22         Third, like agency, Plaintiffs cannot plead a ratification theory. In the Ninth
23 Circuit, ratification presupposes an existing agency relationship. Batzel v. Smith, 333
24 F.3d 1018, 1036 (9th Cir. 2003) (“a principal agent relationship is…a requisite, and
25 ratification can have no meaning without it.”). Thus, in the absence of allegations to
26 establish an agency relationship between Tyler and the State Bar, Plaintiffs cannot
27 establish a ratification theory. Canilao v. City Com. Invs., LLC, 613 F. Supp. 3d 1236,
28 1249 (N.D. Cal. 2022). Moreover, while the word “ratified” appears nine times in the
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 1 FAC, Plaintiffs never once provide any factual allegation for how such ratification
 2 occurred, what act was ratified, who ratified it, or any other relevant fact. In the
 3 Response, Plaintiffs simply suggest that Tyler has “knowingly received a benefit from
 4 the acts of the State Bar.” (Dkt. 88, p. 9). But, even if receiving a benefit were somehow
 5 enough to establish ratification (it is not), Tyler has received no benefit from Ms.
 6 Albert’s disbarment. The State Court Action has not been dismissed, and the Court has
 7 given plaintiffs in that case until February 2025 to find new counsel. Even without class
 8 counsel, those plaintiffs can still maintain their individual claims. If anything, Ms.
 9 Albert’s disbarment has prejudiced Tyler. Tyler has been subjected to additional
10 litigation in the Federal Court Action and is now having to respond to frivolous
11 allegations in this case. The suggestion that Tyler has benefited from Ms. Albert’s
12 disbarment is entirely false.
13         B.    The Interference Claims Should be Dismissed
14         In Counts 10 and 11, Plaintiffs assert intentional and negligent interference with
15 prospective economic advantage claims premised on the idea that Tyler colluded in Ms.
16 Albert’s disbarment to damage her (primarily attorney-client) relationships with other
17 Plaintiffs. (See Dkt. 57, ¶¶683-714.) As Tyler established in the Motion (Dkt. 80, pp.10-
18 18), these counts simply recite the elements of the causes of action without any
19 supporting factual allegations to establish Tyler’s involvement. Plaintiffs’ Response
20 makes only very cursory attempts to suggest that these conclusory allegations are
21 sufficient to state a claim.
22         First, Plaintiffs have not (and cannot) allege (i) any involvement by Tyler in any
23 of the events giving rise to Ms. Albert’s various disciplinary complaints, suspensions
24 or disbarment; (ii) any discussions or communications of any kind between the State
25 Bar and Tyler regarding the disbarment proceedings; (iii) any knowledge by Tyler of
26 Ms. Albert’s disbarment prior to the time it occurred; or (iv) any involvement in the
27 State Bar’s request to delay its own production in the State Court Action. As noted,
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 1 there are not sufficient allegations to support the suggestion that Tyler is responsible—
 2 on any legal theory—for the actions of the State Bar.
 3         Certainly, Plaintiffs have not alleged an “independently wrongful” act
 4 establishing Tyler’s intentional conduct, which is a requirement for an intentional claim.
 5 Korea Supply Co. v. Lockheed Martin Corp., 29 Cal.4th 1134, 1158–59 (2003).
 6 Plaintiffs’ suggestion that the State Bar’s “constitutional violations” qualify as Tyler’s
 7 independently wrongful conduct has no legal or factual support.
 8         Second, although Plaintiffs agree that both negligent and intentional interference
 9 claims require knowledge of the existence of the relationship, Plaintiffs’ Response still
10 fails to identify any such knowledge on Tyler’s part. (See Dkt. 88, pp. 16, 18). Again,
11 this is because there are no facts to support the suggestion that Tyler had any knowledge
12 of Ms. Albert’s various personal or attorney-client relationships with the other
13 Plaintiffs. As to Mr. Westmoreland, Plaintiffs contend that Tyler “was aware of [him],
14 if not by name as one of the 200,000 attorneys who were victims of the data breach.”
15 (Dkt. 88, p. 17). This allegation is not sufficient to establish Tyler’s knowledge of Mr.
16 Westmoreland at all, much less of an attorney-client or other relationship between Mr.
17 Westmoreland and Ms. Albert.
18         As for the other Plaintiffs, the Response suggests, without any authority, that the
19 State Bar was aware of them and its knowledge is “imputed” to Tyler. (Dkt. 88, p. 17).
20 Even if one assumed that the State Bar was aware of Ms. Albert’s relationships with
21 Plaintiffs, the only possible basis to “impute” the State Bar’s knowledge to Tyler would
22 be if the State Bar were acting as Tyler’s agent. As established above, there are not
23 sufficient allegations to state a claim of agency or to impute the State Bar’s knowledge
24 to Tyler.        See, e.g., Plutos Sama Holdings, Inc. v. Jagex Ltd., No.
25 SACV21133JVSJDEX, 2022 WL 1536590, at *7 (C.D. Cal. Jan. 12, 2022) (refusing to
26 impute knowledge for tortious interference claims where no agency relationship was
27 properly alleged).
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      DEFENDANT TYLER TECHNOLOGIES, INC.’S REPLY MEMORANDUM IN
         FURTHER SUPPORT OF MOTION TO DISMISS FIRST AMENDED
                             COMPLAINT
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 1         Third, Plaintiffs failed to adequately allege a probable economic benefit that was
 2 the subject of any interference. To demonstrate the required economic relationship, “it
 3 must be reasonably probable the prospective economic advantage would have been
 4 realized but for defendant’s interference.” Youst v. Longo, 43 Cal.3d 64, 71 (1987).
 5 “Any alleged relationship cannot be based upon ‘overly speculative expectancies.’” Id.
 6 Plaintiffs’ Response fails altogether to substantively address the speculative nature of
 7 the Plaintiffs’ alleged damages. (See Dkt. 80, pp. 16-18). Instead, Plaintiffs merely
 8 stated in conclusory fashion that they lost their licenses to practice law or that they “lost
 9 control of their cases.” (Dkt. 88, p. 19). Ms. Albert also suggests (by citing to cases
10 awarding contingency fees) that such fee recoveries are not too speculative to be
11 recovered.      Plaintiffs’ allegations, however, are nothing more than speculative
12 assertions that certain things might have been different if Ms. Albert had not been
13 disbarred. Because there is no certainty that any of the Plaintiffs would have been better
14 off in their pending cases or business ventures if Ms. Albert had not been disbarred,
15 Plaintiffs’ damages are far too speculative to qualify as a “probable economic benefit.”
16         C.     Ms. Albert’s Data Breach Claim
17         In Count 5, Ms. Albert separately asserts a claim for negligence based on the
18 Alleged Data Breach, which is based on entirely separate factual allegations than other
19 “retaliation” claims. (Dkt. 57, ¶¶526-546.) This claim should be dismissed for various
20 reasons.
21         First, Ms. Albert’s negligence claim here is identical to that already asserted by
22 the putative class in the State Court Action. As a result, there are only one of two
23 outcomes—either Ms. Albert’s individual claim is barred by limitations or her claim
24 remains pending in the State Court and should be dismissed here. Ms. Albert was aware
25 of the Alleged Data Breach by at least March 18, 2022, when she filed the State Court
26 Action on behalf of the putative class. In that Data Breach Cases, Ms. Albert expressly
27 excluded class counsel from the definition of the class. (See, e.g. Dkt. 80-8, ¶144). Ms.
28 Albert opted not to separately and timely file an individual claim, instead making it
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 1 clear that she would proceed as class counsel instead. Now, the two-year statute of
 2 limitations on her individual negligence claim has expired. See Cal. Code Civ. Proc.
 3 §§ 335.1, 339; E–Fab, Inc. v. Accountants, Inc. Services, 153 Cal.App.4th 1308, 1316
 4 (2007). The fact that a class action was pending does not toll the limitations period as
 5 to Ms. Albert’s claim because she would not have been a member of the class if it had
 6 been certified. See American Pipe & Constr. Co. v. Utah, 414 U.S. 538 (1974) (“[T]he
 7 commencement of a class action suspends the applicable statute of limitations as to all
 8 asserted members of the class who would have been parties had the suit been permitted
 9 to continue as a class action.”).5
10          Even if Ms. Albert were entitled to some tolling under American Pipe as a
11 member of the class (which she is not), Ms. Albert’s negligence claim should still be
12 dismissed in this Court. Plaintiffs “generally have ‘no right to maintain two separate
13 actions involving the same subject matter at the same time in the same court and against
14 the same defendant.’” Mendoza v. Amalgamated Transit Union Int’l, 30 F.4th 879, 886
15 (9th Cir.), cert. denied, 143 S. Ct. 425 (2022) (quoting Adams v. California Dep’t of
16 Health Servs., 487 F.3d 684, 688 (9th Cir. 2007)). To determine when such improper
17 claim-splitting is present, courts look to the test for claim preclusion. Id. “Under the
18 federal claim-preclusion principles, the bar of claim-splitting is applicable if the second
19 suit involves (1) the same causes of action as the first; and (2) the same parties or their
20 privies.” Id. at 886. If Ms. Albert is a member of the class and entitled to tolling as a
21 result, her claim should be asserted in the State Court Action, along with the identical
22 claims of other plaintiffs claiming damages stemming from the Alleged Data Breach.
23          In the Response, Ms. Albert suggests that if American Pipe is not applicable, the
24 doctrine of “equitable tolling” should apply because she filed this lawsuit within just
25 months of her disbarment. (Dkt. 88, p. 15). Under California’s equitable tolling
26 doctrine, however, a state statute of limitations may be tolled when a person has “several
27   5
            Even if the Court were to assume that Ms. Albert “rejoined” the class after her
28   disbarment took effect on July 18, 2024, the statute of limitations had already run at
     that time.
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 1 formal legal remedies and reasonably and in good faith pursues one.” Jones v. Tracy
 2 School Dist., 27 Cal.3d 99, 108 (1980) (citing Elkins v. Derby, 12 Cal.3d 410 (1974)).
 3 The doctrine applies to save a state claim from dismissal when a plaintiff has reasonably
 4 pursued a concurrent federal or administrative remedy. Addison v. State, 21 Cal.3d 313,
 5 319 (1978); Donoghue v. Orange Cnty., 848 F.2d 926, 930 (9th Cir. 1987). That is not
 6 the case here. Ms. Albert did not forego the pursuit of her state court claim while she
 7 pursued her remedies in another forum. She specifically chose not to pursue her
 8 personal claims in any forum and to instead represent the class as class counsel.
 9 Equitable tolling has no applicability here.
10         Even if it did apply, the elements of equitable tolling are not met. Equitable
11 tolling requires “timely notice, and lack of prejudice, to the defendant, and reasonable
12 and good faith conduct on the part of the plaintiff.” Addison, 21 Cal. 3d at 319. None
13 of these elements are present here. First, Tyler did not receive “timely notice” of Ms.
14 Albert’s claim. To the contrary, since March 2022, Tyler has been led to believe that
15 Ms. Albert did not intend to pursue an individual claim and instead was content to
16 proceed as counsel. Second, Tyler has been prejudiced by the additional frivolous
17 allegations in this case, an almost one-year delay in the State Court Action, and Ms.
18 Albert’s attempts to reassert the class claims in the Federal Court Action. All of these
19 matters have been time consuming, costly and, as a result, prejudicial, to Tyler.
20         Finally, Ms. Albert’s actions here have not been reasonable or in good faith. If
21 Ms. Albert were acting reasonably and believed her class claims were tolled, she should
22 have joined in and asserted her claims in the existing State Court Action. Ms. Albert
23 acknowledges that the class allegations remain pending and that the class action has
24 been “stayed…to give the plaintiffs time to find new class counsel.” (Dkt. 88, p. 15).
25 Instead of litigating the Alleged Data Breach issues in that case, as she should have
26 done, Ms. Albert chose to assert her claims in an entirely new forum in the context of
27 this otherwise frivolous “retaliation” case. There is no equitable tolling here.
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 1         Second, even if the Court were to consider the merits of Ms. Albert’s negligence
 2 claim, as detailed in the Motion (Dkt. 80, pp. 9-10), the claim should be dismissed. Ms.
 3 Albert has not alleged anything more than conclusory allegations of the required
 4 elements of a claim, including duty, causation, and damages. Ms. Albert does little to
 5 address this in the Response, other than merely parroting back the allegations in the
 6 FAC.
 7 III.    CONCLUSION
 8         In light of the foregoing, Tyler respectfully requests that the Court grant the
 9 Motion, dismiss Plaintiffs claims against Tyler, with prejudice and without leave to
10 amend, and grant Tyler such other and further relief to which it may be entitled.
11
12
13                                                 K&L GATES LLP

14   Dated: December 6, 2024                  By: /s/ Connor J. Meggs
15                                               Beth W. Petronio
                                                 Zachary T. Timm
16                                               Connor J. Meggs
17                                               Attorneys for Defendant
                                                 TYLER TECHNOLOGIES, INC.
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 1                         CERTIFICATE OF WORD COUNT
 2         The undersigned, counsel of record for Defendant Tyler Technologies, Inc.,
 3 certifies that this brief contains 3,864 words, which complies with the word limit of
 4 L.R. 11-6.1.
 5
 6                                              /s/ Connor J. Meggs
                                                 Connor J. Meggs
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11
                         UNITED STATES DISTRICT COURT
12
           CENTRAL DISTRICT OF CALIFORNIA – CENTRAL DIVISION
13
     LENORE ALBERT, JAMES                    Case No. 8:24-cv-01997-WLH-DFM
14   OCON, RYAN MCMAHON,                     [Assigned to the Hon. Wesley L. Hsu]
     LARRY TRAN, THERESA
15   MARASCO; CHAD PRATT; AND                NOTICE OF PROOF OF SERVICE
     LESLIE WESTMORELAND                     OF REPLY MEMORANDUM IN
16                                           FURTHER SUPPORT OF TYLER
                    Plaintiffs,              TECHNOLOGIES, INC.’S MOTION
17                                           TO DISMISS FIRST AMENDED
           v.                                COMPLAINT
18
     TYLER TECHNOLOGIES, INC.,               Complaint Filed: September 16, 2024
19   STATE BAR OF CALIFORNIA;
     RICK RANKIN, STEVE MAZER,
20   LEAH WILSON, RUBEN DURAN
     SHERRELL MCFARLANE;
21   KATHERINE KINSEY, BENSON
     HOM, CINDY CHAN, SUZANNE
22   GRANT, and DOES 1-50,
     inclusive,
23
                    Defendants.
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 1        TO THE CLERK OF THE ABOVE-CAPTIONED COURT, ALL
 2 PARTIES, AND THEIR ATTORNEYS OF RECORD:
 3        PLEASE TAKE NOTICE THAT Defendant Tyler Technologies, Inc. served
 4 its Reply Memorandum in Further Support of its Motion to Dismiss First
 5 Amended Complaint (Dkt. 98) via U.S. Mail on Plaintiff Pro Se Leslie Westmoreland
 6 and Movant and Self-Described Interested Party Robert M. Shaw. The proof of
 7 service evidencing service of the above documents is attached hereto as Exhibit A.
 8
 9        Respectfully submitted,
10
11                                               K&L GATES LLP

12   Dated: December 6, 2024               By: /s/ Connor J. Meggs
13                                             Beth W. Petronio
                                               Zachary T. Timm
14                                             Connor J. Meggs
15                                             Attorneys for Defendant
                                               TYLER TECHNOLOGIES, INC.
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                      EXHIBIT A
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 1                              CERTIFICATE OF SERVICE
 2                                                     Case No. 8:24-cv-01997-WLH-DFM
 3 I am employed in the county of Los Angeles, State of California. I am over the
 4 age of 18 and not a party to the within action; my business address is: K&L GATES
 5 LLP, 10100 Santa Monica Boulevard Eighth Floor, Los Angeles, CA 90067. On
 6 December 6, 2024, I served the document(s) described as:
 7    TYLER TECHNOLOGIES, INC.’S REPLY MEMORANDUM IN FURTHER
 8    SUPPORT OF ITS MOTION TO DISMISS FIRST AMENDED COMPLAINT
 9    Leslie Westmoreland                                  Plaintiff Pro Se
10    1715 East Alluvial Avenue, #214 Fresno,
      CA 93720
11    Telephone: (559) 727-1604
12    Email: westmorelandlw7@gmail.com
      Robert M. Shaw                                       Movant and Self-Described
13    613 Lincoln Street                                   Interested Party
14    Osage City, CA 66523
15 on the interested parties in this action by delivering a true copy thereof as follows:
16         BY U.S. MAIL: I caused true and correct copies of such document(s)
           to be placed in sealed envelope(s). I caused such envelope(s) to be
17         deposited in the mail in Los Angeles, California with postage thereon
           fully prepaid to the address(es) indicated above. I am “readily familiar”
18         with this firm’s practice of collection and processing correspondence
           for mailing. It is deposited with the U.S. Postal Service on that same
19         day in the ordinary course of business.
20
           I declare under penalty of perjury under the laws of the United States of
21
     America that the foregoing is true and correct.
22
           Executed on December 6, 2024, at Los Angeles, California.
23
                                                         /s/ Connor J. Meggs
24                                                       Connor J. Meggs
25
26
27
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                                     PROOF OF SERVICE
